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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION


  LA UNIÓN DEL PUEBLO ENTERO, et al.,              §
               Plaintiffs,                         §
                                                   §
  v.                                               §               5:21-CV-0844-XR
                                                   §              [Consolidated Cases]
  GREGORY W. ABBOTT, et al.,                       §
             Defendants.                           §


            SUMMARY RULING ON SECTION 101 MATERIALITY CLAIMS
                     AND ORDER ON PRETRIAL FILINGS

       On this date, the Court considered (1) the motions for summary judgment as to the Section

101 Materiality Provision claims in this consolidated matter filed by the United States (ECF No.

609), the OCA Plaintiffs (ECF No. 611), and the Intervenor-Defendants (ECF No. 608); (2) the

parties’ Advisory Regarding Section 101 Materiality Provision Claims (ECF No. 701); (3)

Plaintiff’s motion for an extension of time and request for a modification to the Court’s guidance

on pretrial submissions (ECF No. 703); and (4) the response in opposition to Plaintiff’s motion

filed by the State Defendants and Intervenor-Defendants (ECF No. 704). After careful

consideration, the Court issues the following order.

                                        BACKGROUND

       These consolidated cases are set for a bench trial to begin on September 11, 2023. On July

28, 2023, the parties provided a Joint Notice Regarding Trial Procedures indicating that the parties

intended to file an advisory estimating the time needed for presentation of their affirmative cases

and cross-examination by August 11. See ECF No. 683. On August 1, 2023, the Court filed an
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order with guidance on the parties’ anticipated submissions. ECF No. 695. 1 The Court’s order (1)

directed the parties, and in particular the Private Plaintiffs, to cull their witness lists and (2)

clarified that the August 11 advisories should, among other things, identify which witnesses were

expected to testify on which days and the subject of their testimony. See id.

         On August 9, the United States filed an advisory indicating that the United States, OCA

Plaintiffs, State Defendants, and Intervenor-Defendants agreed that the Section 101 claims could

be resolved on summary judgment. 2 ECF No. 701. They further agreed that, “[t]o the extent the

Court determines prior to trial that the Section 101 claims are subject to summary judgment in

favor of any party, . . . those claims can be excluded from trial pending their resolution by the

Court, even if the Court has not yet finalized its opinion and order.” Id. at 1. They noted that

resolving the Section 101 claims on summary judgment would obviate the need for the United

States to call any witnesses at trial, eliminate the need for OCA Plaintiffs to call approximately 20

witnesses, eliminate the need for State Defendants to call at least three of their witnesses, and

narrow the scope of other likely witnesses’ testimony, including organizational representatives and

county and State election officials. Id.

         On August 11, the Private Plaintiffs filed a motion requesting that the Court modify the

directives in its August 1 order to:

         (1)      extend to August 18 the date by which the parties must provide the
                  requested witness schedule; 3

         1
          The Court thereafter filed an Amended Order providing an updated list of dates available for trial
proceedings. See ECF No. 700.
         2
          The “OCA Plaintiffs” include Plaintiffs OCA-Greater Houston, League of Women Voters of Texas, and
REVUP-Texas. The “Intervenor-Defendants” include the Harris County Republican Party, the Dallas County
Republican Party, the Republican National Committee, the National Republican Senatorial Committee, and the
National Republican Congressional Committee.
         3
          The Private Plaintiffs’ motion also noted the Courtroom Deputy’s request that the parties submit a pretrial
advisory identifying counsel expected to conduct direct and cross examinations for each witness. The Courtroom
Deputy did not intend to amend the Court’s August 1 advisory or any pretrial deadlines, but only sought to collect this


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        (2)      allow the parties to identify the week of the trial a witness will be called
                 rather than a specific day; and

        (3)      direct the parties to provide, to all other parties, 24-hour’s notice of the
                 names of the witnesses they will call on each trial day.

ECF No. 703

        The State Defendants and Intervenor-Defendants opposed the motion and instead proposed

that the Court either (1) extend all remaining pretrial deadlines by seven days to correspond with

Private Plaintiffs’ requested extension or (2) maintain the requirement that all Parties submit the

proposed trial schedules by August 11, and allow the Parties to continue to cull their witness lists

and supplement the schedule by Private Plaintiffs’ proposed August 18 deadline. See ECF No.

704; see also ECF No. 705 (Defendant Kim Ogg’s joinder to ECF No. 704).

        The Court will provide further guidance on the parties’ pretrial submissions herein. To

assist the parties with their trial preparation, the Court will issue a summary ruling, described

below, on the motions for summary judgment bearing on the Section 101 Materiality Provision

filed by the United States (ECF No. 609), the OCA Plaintiffs (ECF No. 611), and the Intervenor-

Defendants (ECF No. 608). The summary ruling will be followed in the coming weeks by a final

written opinion and order.

                                                 DISCUSSION

        The United States and the OCA Plaintiffs allege that various provisions of S.B. 1 adding

an identification number requirement to Texas’s mail-in voting process violate the Materiality

Provision of Section 101 of the Civil Rights Act of 1964, which provides that:

        “[n]o person acting under color of law shall . . . deny the right of any individual to
        vote in any election because of an error or omission on any record or paper relating

information at the parties’ earliest convenience on behalf of the Court Reporter, given the large number of attorneys
and witnesses in this case.


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       to any application, registration, or other act requisite to voting, if such error or
       omission is not material in determining whether such individual qualified under
       State law to vote in such election.”

52 U.S.C. § 10101(a)(2)(B). “Voting” includes “all action necessary to make a vote effective

including, but not limited to . . . casting a ballot, and having such ballot counted and included in

the appropriate totals of votes cast.” Id. §§ 10101(a)(3)(A), 10101(e).

       Several provisions of S.B. 1 amend the procedures for applying for and casting mail-in

ballots under the Texas Election Code (“TEC”):

   •   Section 5.02 requires voters to write one of three pieces of information on their application
       for a ballot by mail (“ABBM”): (1) the “number of the applicant’s driver’s license, election
       identification certificate, or personal identification card issued by the Department of Public
       Safety” (collectively, a “DPS ID number”); or (2) if the applicant “has not been issued” a
       DPS ID number, “the last four digits of [their] social security number” (“SSN4”); or (3) if
       the applicant lacks both a DPS ID number and an SSN4, a statement to that effect. TEC §
       84.002(a)(1-a). A voter is permitted to use an expired DPS ID number, if the number is
       otherwise valid, for purposes of fulfilling these requirements. Id. § 84.002(b-1).

   •   Section 5.03 requires the SOS’s “officially prescribed” ABBM to include a space for
       entering this information. TEC § 84.011(a), (a)(3-a); see id. § 31.002.

   •   Section 5.07 requires that early voting clerks “shall reject” mail ballot applications that do
       not include a DPS number or SSN4 that identifies “the same voter identified on the
       applicant’s application for voter registration.” TEC § 86.001(f).

   •   Section 5.08 requires that the carrier envelope in which the ballot envelope is mailed
       include a space, hidden from view when sealed, for the voter to enter the same
       identification number information required under Section 5.02. TEC § 86.002(g).

   •   Section 5.10 requires the SOS’s Ballot by Mail Tracker to “allow a voter to add or correct
       information” on their ABBM or carrier envelope as required by S.B. 1’s matching-number
       requirement. TEC § 86.015(c)(4).

   •   Sections 5.12 and 5.14 amend the responsibilities of the Early Voting Ballot Board, and
       any Signature Verification Committee, if appointed, to include notifying the voter of any
       carrier envelope flagged for rejection for a variety of reasons, including pursuant to S.B.
       1’s number-matching requirement, and sets out a notice-and-cure scheme. See TEC §§
       87.0411; 87.0271.

   •   Section 5.13 establishes that a mail ballot “may be accepted only if” the DPS number or
       SSN4 on the carrier envelope or signature sheet identifies “the same voter identified on the
       applicant’s application for voter registration.” TEC § 87.041(b)(8).


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         The OCA Plaintiffs attack the number-matching framework as a whole, 4 while the United

States merely challenges the provisions requiring election officials to reject applications to vote

by mail and mail-in ballots bearing identification numbers that do not match voter registration

records—Sections 5.07 and 5.13 of S.B. 1. See ECF No. 200 (“OCA Compl.”) at 45–46; United

States v. Texas, No. 5:21-cv-1085-XR, ECF No. 1 (“USA Compl.”) at 16–17. Both the United

States and the OCA Plaintiffs seek injunctive relief against the enforcement of the provisions they

challenge and a declaration that those provisions violate Section 101 of the Civil Rights Act of

1964. See OCA Compl. at 46, 75–76; USA Compl. at 17.

         Both the OCA Plaintiffs and the United States have moved for summary judgment as to

their Section 101 claims. See ECF No. 609 (USA MSJ); ECF No. 611 (OCA MSJ). The motions

are opposed by both the State Defendants and the Intervenor-Defendants. See ECF Nos. 645, 646,

634, 635. The Intervenor-Defendants have also filed a cross-motion for summary judgment (ECF

No. 608 at 13–23), in which the State Defendants have joined (ECF No. 610), asserting that the

Section 101 claims brought by the United States and the OCA Plaintiffs fail as a matter of law.

         After reviewing the summary judgment record, the Court concludes that Sections 5.07 and

5.13 of S.B.1, codified in Sections 86.001(f) and 87.041(b)(8) of the Texas Election Code, require

officials to reject mail-in ballot applications and mail-in ballots based on errors or omissions on a

record or paper relating to an act requisite to voting that are not material in determining whether




         4
           In their motion for summary judgment, the OCA Plaintiffs stated that they seek to challenge Sections 5.02,
5.03, 5.07, 5.08, 5.10, 5.12, 5.13, and 5.14 of S.B. 1, or amended TEC Sections 84.002(a)(1-a), (b-1); 84.011(a)(3-a);
86.001(f), (f-1), (f-2); 86.002(g), (h), (i); 86.015(c)(4); 87.0271(a)(4); 87.041(b)(8); and 87.0411(a)(4). ECF No.611
at 8 n.1. They further asserted that, while their Second Amended Complaint also challenged Section 5.06, they had
voluntarily withdrawn that claim. ECF No. 611 at 8 n.1. Although it will not meaningfully affect the disposition of
the Section 101 claims, the Court observes that the Second Amended Complaint does not appear to include any
references to Sections 5.08, 5.13, or 5.14 of S.B. 1. See generally ECF No. 200.



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voters are qualified under Texas law to vote or to cast a mail ballot, in violation of the Materiality

Provision of Section 101 of the Civil Rights Act of 1964, 52 U.S.C. § 10101(a)(2)(B).

           Accordingly, the United States’ motion for summary judgment (ECF No. 609) is

GRANTED. A written order awarding the declaratory and injunctive relief as to Sections 5.07

and 5.13 of S.B. 1 requested therein will follow.

           The OCA Plaintiffs’ motion for summary judgment (ECF No. 611) is GRANTED IN

PART and DENIED IN PART. The motion is granted with respect to the OCA Plaintiffs’

challenge to Section 5.07 of S.B. 1. The motion is denied as to the OCA Plaintiffs’ challenges to

Sections 5.08, 5.13, and 5.14 for failure to raise those provisions in their Second Amended

Complaint. The motion is further denied as to Sections 5.02, 5.03, 5.08, 5.10, 5.12, and 5.14

because none of those provisions require that mail-in ballot applications or mail-in ballots be

rejected on any basis. Rather, those provisions merely address the procedures for collecting,

tracking, and correcting the relevant identification numbers. Indeed, the OCA Plaintiff’s Second

Amended Complaint explicitly concedes that “the State may legally request this information from

voters (for example, as an optional data point that would prevent the need for a signature review).”

OCA Compl. at 45.

           Finally, Intervenor-Defendants’ motion for summary judgment (ECF No. 608) is

GRANTED IN PART and DENIED IN PART as to the Section 101 claims. The motion is

granted as to the OCA Plaintiffs’ challenges to Sections 5.02, 5.03, 5.08, 5.10, 5.12, and 5.14 of

S.B. 1 because, as discussed above, those provisions do not require the rejection of any voting

materials. The Intervenor-Defendants’ motion as to the Section 101 claims is otherwise denied

because its proposed constructions of the Materiality Provision are unsupported by the text of the

statute.




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        These summary rulings will be followed in the coming weeks by a final written opinion

and order. To the extent possible, the Court will continue to enter summary rulings on the pending

motions for summary judgment in advance of trial in order to narrow the scope of issues that

remain to be tried in this case.

                                         CONCLUSION

        For the reasons stated herein and to be set out more fully in a forthcoming opinion, the

United States’ motion for summary judgment (ECF No. 609) is GRANTED.

        It is FURTHER ORDERED that OCA Plaintiffs’ motion for summary judgment (ECF

No. 611) is GRANTED IN PART and DENIED IN PART. The motion is GRANTED with

respect to the OCA Plaintiffs’ challenge to Section 5.07 of S.B. 1 and DENIED in all other

respects.

        The parties are DIRECTED to pare down their witness lists in accordance with the Court’s

summary rulings on the Section 101 claims.

        It is FINALLY ORDERED that the Private Plaintiff’s motion for an extension of time

and request for a modification to the Court’s guidance on pretrial submissions (ECF No. 703) is

GRANTED IN PART and DENIED IN PART, as follows:

        By no later than August 25, 2023, the parties are DIRECTED to provide an advisory

indicating which witnesses they expect to call. Thereafter, the parties shall, on three-days’ notice

to the Court and remaining parties, identify which witnesses will be called on each day of trial on

a rolling basis.




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It is so ORDERED.

SIGNED this 17th day of August, 2023.




                                  _________________________________
                                  XAVIER RODRIGUEZ
                                  UNITED STATES DISTRICT JUDGE




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